       Case 1:24-cv-02535-ACR            Document 14           Filed 05/16/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DINESH PATEL,                                  )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )          Case No.: 1:24-cv-02535-ACR
                                               )
                                               )
GEORGETOWN SOFTWARE                            )
HOUSE, INC.                                    )
                                               )
                       Defendant.              )
                                               )

                                    NOTICE OF APPEARANCE

       Please take notice that Edward T. Colbert of Hunton Andrews Kurth LLP, District of

Columbia Bar No. 206425, hereby enters his appearance in the above-captioned matter on behalf

of Plaintiff, Dinesh Patel (“Plaintiff”), for the limited purpose of mediation.



Dated: May 16, 2025                                    Respectfully submitted,

                                                    By: s/ Edward T. Colbert
                                                    Edward T. Colbert (D.C. Bar No. 206425)
                                                    Hunton Andrews Kurth LLP
                                                    2200 Pennsylvania Avenue, N.W.
                                                    Washington, D.C. 20037
                                                    Telephone: (202) 662-3010
                                                    Facsimile: (202) 778-2201
                                                    ecolbert@hunton.com

                                                    Kate Pauling (pro hac vice forthcoming)
                                                    Hunton Andrews Kurth LLP
                                                    2200 Pennsylvania Avenue, N.W.
                                                    Washington, D.C. 20037
                                                    Telephone: (202) 662-2783
                                                    Email: kpauling@hunton.com

                                                    Counsel for Plaintiff



                                                   1
          Case 1:24-cv-02535-ACR         Document 14       Filed 05/16/25     Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I, Edward T. Colbert, hereby certify that a copy of the foregoing document, filed through

 the CM/ECF system on the 16th day of May, 2025, will be sent electronically to all parties and

 counsel of record.


                                               s/ Edward T. Colbert
                                               Edward T. Colbert




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